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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                       Hon. Robert Kirsch

     V.                                         Crim. No. 24-CR-496
                                                                          RECEIVED
                                                                                AUG -1 202't
 CHAIM ELIMELECH PURETZ,                         18U.S.C.§371
 a/k/a "ELI PURETZ"                              18 U.S.C. § 1343                           M
                                                                        AT 8:30
                                                                     CLERK^aS^isTRICT COURT. ONJ


                                INFORMATION
      The defendant having waived in open court prosecution by Indictment, the


United States charges:

          (Conspiracy to Commit Wire Fraud Affecting a Financial Institution)

                         Background and Relevant Parties

      1. At all times relevant to this Information:

               a. The defendant, Chaim Puretz, a/k/a "Eli Puretz," was a resident


of Jackson, New Jersey.


              b. Troy Technology Park was a commercial office complex in Troy,


Michigan. Troy Technology Park was owned by Troy Technology Holdings LLC.

Defendant Puretz was a member of Troy Technology Holdings LLC.


              c. "Financial Institution 1 was a financial institution as defined by


18 U.S.C. § 20, with headquarters in New York, New York. Financial Institution 1


issued a mortgage loan for the purchase of Troy Technology Park.


              d. Riverside Abstract ("Eiverside") was a title company with offices

in Lakewood, New Jersey.
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              e. Apex Equity Group ("Apex") was a privately held real estate


investment and advisory firm that was based in Newark, New Jersey.


              f. "Co-Conspirator 1 was an employee of Apex, the father of


defendant Puretz, and an owner of Troy Technology Park


              g. Boruch Barry^ Drillman was the managing member of Troy


Technology Holdings LLC and an owner of Troy Technology Park.

              h. Individual 1 was the founder and CEO of Aandar Real Estate

Capital, which was based in Rochelle Park, New Jersey.


              i. An "arm's length" transaction was one where the buyer of a


property did not have a preexisting familial or business relationship with the seller.


             j. A Purchase and Sale Agreement ("PSA ) was a document that was

written and signed after a buyer and seller mutually agreed on the price and terms


of a real estate transaction.


             k. A Letter of Intent ("LOF) was a document that outlined the terms

of a potential sale of a property and served as an "agreement to agree" between two


parties.


                Commercial Property Morteage Lendine Process


       2. When a real estate developer or sponsor identified a commercial


property they were interested in purchasing, the sponsor or their broker typically


reached out to the current owner and sent an LOI outlining their interest in the


property, potential sales price, and sponsor due diligence. If the current owner (i.e.,


the seller) agreed to the terms, the sponsor and seller entered into a PSA outlining in


greater detail the specifics of the sale transaction.
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       3. Around the same time of the LOI or PSA, the sponsor typically sought

financing for the transaction. Financing a commercial property generally involved


loans with seven- to ten-year terms, with balloon payments at the end of the term.


At the expiration of a term, when the balloon payment was due, borrowers often re-


financed the loan to satisfy the balloon payment and any other outstanding debts.


Lenders generally loaned up to approximately eighty percent of the value of the


property. Lenders typically required a borrower to fund the remaining twenty


percent equity requirement with cash, so the sponsor had a financial stake in the


property's future value and performance.


       4. Financial institutions that were considering issuing a loan on a


commercial property evaluated several factors to determine whether to make the


loan, including, among other considerations, the value of the property. To determine


the value of the property, the lender typically hired an appraiser.


       5. Appraisers assumed the PSA was an arm s length transaction, and


typically an appraiser valued the property at or close to the purchase amount in the

PSA.

                                  The Conspiracy

       6. From at least as early as in or about 2020, through in or about 2022, in


the District of New Jersey, and elsewhere, the defendant


                          CHAIM ELIMELECH PURETZ,
                                a/k/a "ELI PURETZ,"


did knowingly and willfully conspire and agree with others to commit an offense

against the United States, namely, wire fraud affecting a financial institution, that

is, to knowingly, and with the intent to defraud, having devised and intending to

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devise a scheme and artifice to defraud Financial Institution 1, and to obtain money


and property by means of materially false and fraudulent pretenses, representations,


and promises, knowing such pretenses, representations, and promises were false and


fraudulent when made, and, for the purpose of executing such scheme and artifice to


defraud, did transmit and cause to be transmitted, by means of wire communications


in interstate and foreign commerce, certain writings, signs, signals, pictures, and


sounds affecting one or more financial institutions, contrary to Title 18, United States


Code, Section 1343.

                             Objects of the Conspiracy

      7, It was an object of the conspiracy to induce Financial Institution 1 to


issue a commercial mortgage loan to Troy Technology Holdings LLC, an entity co-


owned by defendant Puretz, based on false pretenses, representations, and promises


regarding the inflated value of the commercial property.


      8. It was further an object of the conspiracy to obtain a loan on Troy


Technology Park in an amount greater than Troy Technology Holdings LLC would

have qualified for and to enrich defendant Puretz, and his co-conspirators, with the


inflated loan proceeds generated by the fraudulently obtained loan.

      9. It was further an object of the conspiracy for defendant Puretz and co-


conspirators to obtain millions of dollars of victims' funds through false and


misleading statements and material omissions regarding the purchase prices of Troy


Technology Park and another real estate investment.
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                      Manner and Means of the Conspiracy


       10. It was a part of the conspiracy that conspirators engaged in a "flip"


transaction, in which they used a related party to serve as a straw buyer in order to


purchase Troy Technology Park for approximately $42,700,000 before selling or

flipping the property to Barry Drillman for approximately $70,000,000. The

$70,000,000 purchase price was falsely presented to Financial Institution 1 as the

price negotiated to purchase the property at arm s length. The purchase price was a


key input used by Financial Institution 1 to determine the market value of the

property. Members of the conspiracy purposely misled and concealed from Financial


Institution 1 the true sales price of approximately $42,700,000.

      11. It was further a part of the conspiracy that, based on the conspirators'


false statements to Financial Institution 1, on or about September 25, 2020, Financial


Institution 1 issued a loan to Troy Technology Holdings LLC, which was co-owned by

defendant Puretz, in the amount of approximately $45,000,000 for the purchase of

Troy Technology Park. The conspirators further misrepresented to Financial


Institution 1 that this loan amount was approximately 65% of the $70,000,000

purchase price.

                  Overt Acts in Furtherance of the Conspiracy



      12. In furtherance of the conspiracy, at least one of the co-conspirators


committed at least one of the following overt acts, among others, in the District of


New Jersey and elsewhere:


      13. Beginning in 2020 until 2022, defendant Puretz solicited prospective

investors to entrust him and Apex with approximately $3,550,000 for investment in

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real estate transactions, including Troy Technology Park. The funds were not


invested in accordance with the solicitations.


       14. On or about February 25, 2020, defendant Puretz sent an email to an


employee of the seller of Troy Technology Park, with an attached LOI from Apex

dated on or about February 17, 2020, with an offer to purchase Troy Technology Park


for approximately $42,000,000. The letter was signed by Co-Conspirator 1 as a


Managing Member of Apex.


       15. On or about June 11, 2020, Individual 1 sent an email to an Executive


Director at Financial Institution 1 seeking a loan for Troy Technology Park. In this


email, Individual 1 stated that Barry Drillman was the sponsor who was purchasing


the property for approximately $65,000,000 and seeking a loan of approximately

$48,750,000.

      16. On or about July 10, 2020, the owner of Troy Technology Park entered


into an agreement with defendant Puretz to sell the property for approximately


$45,200,000.

      17. On or about September 14, 2020, Individual 1, to justify the $70,000,000

purchase price, sent an email and attachment to Financial Institution 1. The


attached file was an LOI to purchase Troy Technology Park for $68,800,000. This

LOI was sent, in turn, to the appraiser by Financial Institution 1.


      18. On or about September 25, 2020, the sale of Troy Technology Park was


completed. The morning of closing, defendant Puretz sent Individual 1 two closing


statements—one for the actual sales price ($42,700,000), and the other for the false,


inflated sales price ($70,000,000)—in order to conceal the actual Troy Technology

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Park closing price from Financial Institution 1. Eiverside utilized the closing

statements and performed two closings on the property, one for the seller with a


contract price of $42,700,000, and one for the lender with a contract price of

$70,000,000.

          19. Furthermore, members of the conspiracy provided a short term one-


week loan of approximately $30,000,000 to support the closing for the inflated sales

price.


         In violation of Title 18, United States Code, Section 371.
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                           FORFEITURE ALLEGATION

       1. The allegations contained in this Information are realleged here for the


purpose of noticing forfeiture pursuant to Title 18, United States Code, Section

982(a)(2)(A).

      2. The United States gives notice to defendant Puretz that, upon conviction


of the offense charged in this Information, the United States will seek forfeiture, in

accordance with Title 18, United States Code, Sections 982(a)(2)(A), of any and all

property, real and personal, that constitutes or was derived, directly and indirectly,


from proceeds obtained as the result of the offense, including, but not limited to, the


sum of United States currency to be determined by the court to be evidenced by a


monetary judgment issued by this Court in aforesaid amount. Said judgment will

accrue at the prevailing rate per annum and serve as a judgment and lien against the


defendant s property, wherever situated until fully satisfied.


      3. If by any act or omission of defendant Puretz, any of the property subject


to forfeiture described above:


      (a) cannot be located upon the exercise of due diligence;

      (b) has been transferred or sold to, or deposited with, a third party;

      (c) has been placed beyond the jurisdiction of the court;

      (d) has been substantially diminished in value; or

      (e) has been commingled with other property which cannot be divided without
      difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(l),



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to seek forfeiture of any other property of defendant Puretz up to the value of the


above-described forfeitable property.




GLENNS.LEON
Chief, Fraud Section
Criminal Division
U.S. Department of Justice




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                United States District Court
                  District of New Jersey

                 UNITED STATES OF AMERICA

                                   V.



                  CHAIM ELIMELECH PURETZ,
                        a/k/a "ELI PURETZ"

                    INFORMATION FOR
                              18 USC § 371


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                     FOR THE DISTRICT OF NEW JERSEY


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